Case 4:03-cr-00084-MAC-CAN            Document 904         Filed 11/09/09      Page 1 of 1 PageID #:
                                             998


                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERM AN DIVISION


 UNITED STATES OF AMERICA                          §
                                                   §
  vs.                                              §            Case No. 4:03cr84
                                                   §            (Judge Schell)
 MICHAEL LYNN KIRK (13)                            §

                 MEMORANDUM ADOPTING REPORT AND
         RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

         Came on for consideration the above-referenced criminal action, this Court having heretofore

 referred the request for the revocation of Defendant’s supervised release to the United States

 Magistrate Judge for proper consideration. Having received the report of the United States

 Magistrate Judge pursuant to its order and the parties’ waiver of right to file objections, this Court

 is of the opinion that the findings and conclusions of the Magistrate Judge are correct and adopts

 same as the findings and conclusions of the Court. It is therefore,

         ORDERED that the Magistrate Judge's Report is ADOPTED as the opinion of the Court.

 It is further

         ORDERED that Defendant’s supervised release is hereby REVOKED. It is further

         ORDERED that Defendant is sentenced to a term of imprisonment of eleven (11) months

 with no supervised release to follow. The Court recommends that Defendant be housed in the

 Bureau of Prisons Seagoville Unit.


             .   SIGNED this the 8th day of November, 2009.




                                                           _______________________________
                                                           RICHARD A. SCHELL
                                                           UNITED STATES DISTRICT JUDGE
